          Case
4/24/23, 11:44 AM 3:23-cv-00477-JAR-MCR                                       Document
                                                                                   CORE1-2      FiledResource
                                                                                        - Clerk Online 04/24/23
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                                                                             Case 16-2023-CA-004068-XXXX-MA

                    Department                                            Circuit Civil                                Division                            CV-G

                    Case Status                                              OPEN                                      File Date               3/21/2023 4:55:35 PM

                   Judge Name                                       SHARRIT, MICHAEL                                    Officer

                  Private Attorney                                 Butler, Howard Gardner




                                                                                                    Parties

                                                                                                                         Party Type
                                                 Name / DOB / DL / ID #                                                                                    Address
                                                                                                                          Race / Sex


                                                                                                                         PLAINTIFF            3824 DRAYTONVILLE COURT
                                                     AMBER MILLS
                                                                                                                           W/F                 JACKSONVILLE, FL32224

                                                                                                                        DEFENDANT              ONE STATE FARM PLAZA
                               STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY
                                                                                                                            /                  BLOOMINGTON, IL61710




                                                                                                   Attorneys

                                 Attorney                                                          Address                                        For Parties

                      Butler, Howard Gardner                                                  1506 Prudential Dr
                                                                                                                                            AMBER MILLS (PLAINTIFF)
                     Private Attorney (503487)                                            Jacksonville, FL32207-8134




                                                                                                     Fees

                   Date                                                   Description                                         Assessed          Paid                     Balance

                03/24/2023                                    SUMMONS($10/ea) 6/17/2017                                           $10.00       $10.00                     $0.00

                03/24/2023                                     CIR/GENERALCIVIL 7/1/2019                                          $401.00     $401.00                     $0.00




                                                                                                   Dockets

          Line /                     Effective
                       Count                                                                        Description                                   Pages                 Image
        Document                      Entered


                                     3/24/2023
            1             --                          INSURANCE CLAIMS
                                     3/24/2023


                                                                                                                                                                      Available
            2                        3/24/2023
                          --                          COVER SHEET                                                                                      1
           D2                        3/24/2023

                                                                                                                                                                  VOR, Ready to view


                                                                                                                                                                      Available
            3                        3/24/2023
                          --                          COMPLAINT AND DEMAND FOR JURY TRIAL                                                              1
           D3                        3/24/2023

                                                                                                                                                                  VOR, Ready to view


                                                                                                                                                                      Available
            4                        3/24/2023
                          --                          SUMMONS ISSUED TO STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY                                 1
           D4                        3/24/2023

                                                                                                                                                                  VOR, Ready to view


                                                                                                                                                                      Available
            5                        3/24/2023
                          --                          CASE FEES PAID: $411.00 ON RECEIPT NUMBER 4363794                                                1
           D5                        3/24/2023

                                                                                                                                                                     Public access


                                                                                                                                                                      Available
            6                        3/24/2023
                          --                          ORDER SETTING CASE MANAGEMENT PLAN FOR NON-COMPLEX CASES                                         1
           D6                        3/24/2023

                                                                                                                                                                  VOR, Ready to view


                                                                                                                                                                      Available
            7                        3/24/2023
                          --                          AMENDED COMPLAINT - PLTF                                                                         1
           D7                        3/27/2023

                                                                                                                                                                  VOR, Ready to view


                                                                                                                                                                      Available
            8                        3/24/2023
                          --                          REQUEST FOR ADMISSIONS - PLTF                                                                    1
           D8                        3/27/2023

                                                                                                                                                                  VOR, Ready to view



https://core.duvalclerk.com/CoreCms.aspx                                                                                                                                               1/2
          Case
4/24/23, 11:44 AM 3:23-cv-00477-JAR-MCR                       Document
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                    Count                                                    Description                Pages         Image
        Document              Entered


                                                                                                                    Available
            9               3/24/2023
                     --                    REQUEST TO PRODUCE - PLTF                                      1
           D9                3/27/2023

                                                                                                                VOR, Ready to view


                                                                                                                    Available
           10               3/24/2023
                     --                    NOTICE OF PROPOUNDING INTERROGATORIES - PLTF                   1
           D10               3/27/2023

                                                                                                                VOR, Ready to view




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